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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re: U LOCK INC. a/k/a                   )
  U-LOCK INC.                                )    Case. 22-20823-GLT
                                             )
                           Debtor.           )
  —----------------------------------------- )
  U LOCK INC.,                               )
                                             )
                           Movant,           )
                                             )
                  v.                         )
                                             )
  CHRISTINE BIROS,                           )
  SHANNI SNYDER,                             )
  ROBERT SLONE, TRUSTEE,                     )
                                             )
                           Respondents. )

                                  MOTION FOR CLARIFICATION

           Debtor U Lock Inc. (“U Lock”) moves this Court for clarification of the automatic

  stay:

      1.   This motion is being filed at the request of the Superior Court of Pennsylvania

           relating to three pending appeals that originate from Orders from the Court of

           Common Pleas of Westmoreland County, Pennsylvania. See Exhibit 1 – Order.

      2. Specifically, this Court entered an Order lifting the automatic stay as to the U Lock

           property and reinstating state remedies. See Exhibit 2 – Order of January 27, 2023.

      3. During this bankruptcy, four defensive appeals were filed with the Superior Court

           from actions taken by the Court of Common Pleas. Defensive appeals do not violate

           the automatic stay. The reason the appeals were filed is because of the time limitation

           to do so and the fact that Christine Biros argued to the state court that the automatic

           stay did not apply and she concurrently sought retroactive relief from the stay with

           this Court.

      4. These appeals were stayed and have been..
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     5. Appeal 617 WDA 2022 is an appeal from the January 20, 2022 Order that gave

        Christine Biros the deeds. The appeal was filed May 26, 2022. U Lock planned to

        argue that the appeal was timely because the Court of Common Pleas admitted it

        entered the Order “unilaterally” without notice to U Lock and without ever providing

        a copy of the Order to it. See Exhibit 3.

     6. Appeal 615 WDA 2022 is an appeal from the May 13, 2022 Order that denied U

        Lock’s request to strike the January 2022 Order on the basis that the Court lacked

        jurisdiction because the matter was not remitted to it, that the Order was ex parte, and

        entered without notice to U Lock. See Exhibit 4.

     7. Another appeal was filed by Shanni Snyder, but withdrawn. In addition, an appeal at

        650 WDA 2022 is pending by Mark Mycka a tenant of U Lock. Counsel

        communicated with Mr. Mycka and he is withdrawing that appeal as it related to the

        possession of the property and access by tenants, a moot issue as the matter was

        administrated by this Court.

     8. The two appeals at 615 WDA 2022 and 617 WDA 2022 now belong to Shanni Snyder

        as the owner of all intangible assets of U Lock.

     9. When the Superior Court of Pennsylvania issued a show cause about the automatic

        stay and requested an update, counsel for U Lock referred the matter to Ms. Snyder as

        she is the real party in interest.

     10. Ms. Snyder suggested that this Court’s Order per se lifted the stay. She asked for time

        to obtain counsel and file a motion to substitute herself as the appellant as U Lock’s

        successor. See Exhibit 5, Letter to Superior Court from Shanni Snyder. Ms. Snyder

        provided the Superior Court with a copy of this Court’s Orders lifting the stay (Entry

        307), voiding the possession Order (Entry 143), and transferring the intangibles to her

        (Entry 254).
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     11. The Superior Court issued a further show cause directing U Lock to address the issue.

        U Lock advised the Court that Ms. Snyder was the successor in interest, but that it

        would seek clarification to resolve ambiguities.

     12. U Lock is unclear whether, considering the avoidance action, this Court wishes for the

        appeals at 615 WDA 2022 and 617 WDA 2022 to proceed, or whether the Court

        wishes for them to be stayed pending the determination of the avoidance action.

     13. In addition, this Court should clarify that Ms. Snyder is the successor in interest to U

        Lock as far as the appeals as, if the Superior Court finds that the January 20, 2022,

        Order was entered without jurisdiction, it would void the deeds provided to Ms. Biros

        through the ex parte contact with the Common Pleas Court in January 20, 2022.

        Furthermore, if the Superior Court finds that the January 20, 2022, should be stricken

        for notice reasons, it would alter the dates of the transfer to Ms. Biros.

        WHEREFORE, U Lock respectfully requests clarification as to whether there exists a

  stay of the cases at 617 WDA 2022 and 615 WDA 2022.

                                                       Respectfully submitted,


                                                       /s/ J. Allen Roth, Esq.
                                                       J. Allen Roth, Esq. (PA 30347)
                                                       805 S. Alexandria St
                                                       Latrobe PA 15650
                                                       (724) 537-0939
                                                       lawmatters@yahoo.com

                                                       ATTORNEY FOR THE DEBTOR
